
240 P.3d 665 (2010)
2010 OK 62
In the Matter of the REINSTATEMENT OF Angela Bunkley PLOWMAN to Membership in the Oklahoma Bar Association and to the Roll of Attorneys.
SCBD No. 5584.
Supreme Court of Oklahoma.
September 14, 2010.

ORDER
On de novo examination of the paperwork on file and of the transcript and record of proceedings before the Professional Responsibility Tribunal's (PRT) assigned trial panel, the court finds that the applicant established by clear and convincing proof that:
(1) she is an ethically fit person,
(2) she voluntarily relinquished her Oklahoma law license on 27 March 2006 and has not engaged in the unauthorized practice of law at any time,
(3) the applicant is sufficiently abreast of intervening changes in Oklahoma law to qualify for reinstatement without examination.
The applicant's license to practice law in the State of Oklahoma shall stand reinstated upon payment of the assessed costs of this proceeding in the sum of $794.71.
*666 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 13TH DAY OF SEPTEMBER, 2010.
ALL JUSTICES CONCUR.
